          Case:  2:22-cv-02853-SDM-EPD
          Franklin County Ohio Clerk of CourtsDoc  #: 2
                                               of the   Filed: 07/19/22
                                                      Common              Page:
                                                                Pleas- 2022      1 of
                                                                            Jun 10    8 PM-22CV003972
                                                                                   3:24 PAGEID #: 20
0F959 - 080
                                                                                                   &9)*#*5"
                                    MARYELLEN O'SHAUGHNESSY

                             FRANKLIN COUNTY CLERK OF COURTS
                          GENERAL DIVISION, COURT OF COMMON PLEAS

   CASE TITLE: ELMEDIN TINJAK ET AL -VS- BIANCHI USA LLC ET AL          CASE NUMBER: 22CV003972




   TO THE CLERK OF COURTS, YOU ARE INSTRUCTED TO MAKE:
   CERTIFIED MAIL

   DOCUMENTS TO BE SERVED:
   COMPLAINT

   PROPOSED DOCUMENTS TO BE SERVED:

   UPON:
   BACKCOUNTRYCOM LLC
   C/O CT CORPORATION SYSTEM
   1108 E SOUTH UNION STREET
   MIDVALE, UT 84047

   CYCLEUROPE USA LLC
   2536A BARRINGTON COURT
   HAYWARD, CA 94545

   BIANCHI USA LLC
   2536A BARRINGTON COURT
   HAYWARD, CA 94545



   JUVENILE CITATIONS ONLY:

         HEARING TYPE:

           Date already scheduled at      Courtroom:



   Electronically Requested by: JACOB J BEAU SAY
   Attorney for:
         Case:  2:22-cv-02853-SDM-EPD
         Franklin County Ohio Clerk of CourtsDoc  #: 2
                                              of the   Filed: 07/19/22
                                                     Common              Page:
                                                               Pleas- 2022      2 of
                                                                           Jun 10    8 PM-22CV003972
                                                                                  3:24 PAGEID #: 21
0F959 - 073




                                   IN THE COURT OF COMMON PLEAS
                                       FRANKLIN COUNTY, OHIO

        ELMEDIN TINJAK
        2203 Olde Sawmill Road
        Dublin, OH 43016
                                                                 Case No.
               and
                                                                 Judge
        MIRANDA TINJAK
        2203 Olde Sawmill Road                                   (Classification B)
        Dublin, OH 43016

                      Plaintiffs

               v.

        BIANCHI USA, INC.
        2536A Barrington Court
        Hayward, CA 94545

               and

        CYCLEUROPE, USA, INC.
        2536A Barrington Court                                   COMPLAINT
        Hayward, CA 94545
                                                                 Jury Demand Endorsed Hereon
               and

        BACKCOUNTRY.COM, LLC
        dba CompetitiveCyclist.com
        c/ o CT Corporation System
        1108 E. South Union Ave.
        Midvale, UT 8404 7

                      Defendants



                                                 PARTIES

        1.    Plaintiff Elmedin Tinjak is a person residing at 2203 Olde Sawmill Road, Dublin, Frank-

              lin County, Ohio 43016. At all times relevant to this action, Mr. Tinjak was married to
             Case:  2:22-cv-02853-SDM-EPD
             Franklin County Ohio Clerk of CourtsDoc  #: 2
                                                  of the   Filed: 07/19/22
                                                         Common              Page:
                                                                   Pleas- 2022      3 of
                                                                               Jun 10    8 PM-22CV003972
                                                                                      3:24 PAGEID #: 22
0F959 - 074




                Plaintiff Miranda Tinjak.

        2.      F.I.V. Edoardo Bianchi S.p.A. (hereinafter "Bianchi"), based in Italy, is the manufac-

                turer, designer and seller of carbon bicycle frames and parts. Bianchi is not subject to

                judicial process in Ohio.

        3.      Defendant Bianchi USA, Inc. (hereinafter "Bianchi USA") is a California corporation

                with its headquarters in Hayward, California. Bianchi conducts its business in North

                America as Bianchi USA, Inc. Bianchi USA, Inc. is owned in whole or in part by Bian-

                chi.

        4.      Defendant Cycleurope, Inc. (hereinafter "Cydeurope") is a California corporation \vi.th

                its headquarters in Hay\vard, California. Cycleurope is a distributor, seller, and/ or sup-

                plier of Bianchi products in   orth Arnerica. Cycleurope is the parent entity of Bianchi

                 USA, Inc., and is owned in \vhole or in part by Bianchi.

        5.      Defendant Backcountry.co:m, LLC, is a Utah corporation domg business as Co:mpeti-

                tivecydist.corn (hereinafter "Con1petitivecydist.corn''\1,. Ihckcountrv.corn is the owner
                        •       '                   .         •                       .J




                and operator of Co:mpetivecydistcom. Co:mpetitivecylist.corn is an online retailer of

                bicvdes, indudinQ" Bianchi bicycles .
                   .J               .__,       .,




                                                        FACTS

        6.      On May 28, 2019, Plaintiff Elmedin Tinjak purchased a Bianchi Oltre XR4 (SN

                WBK450928N) road frameset from the online retailer, Competitivecyclist.com.

        7.      The Bianchi Oltre XR4 frameset included the bicycle frame and front fork. These parts

                were designed, manufactured, and sold by Bianchi.

        8.      The transaction giving rise to this transaction took place in Franklin County, Ohio.

        9.      In addition to the Bianchi XR4 frameset, Mr. Tinjak purchased several other bicycle

                components from Competitvecyclist.com.


                                                          2
         Case:  2:22-cv-02853-SDM-EPD
         Franklin County Ohio Clerk of CourtsDoc  #: 2
                                              of the   Filed: 07/19/22
                                                     Common              Page:
                                                               Pleas- 2022      4 of
                                                                           Jun 10    8 PM-22CV003972
                                                                                  3:24 PAGEID #: 23
0F959 - 075




        10.   The Bianchi bicycle and other parts were assembled by Competitivecyclist.com em-

              ployees on June 5, 2019, and shipped directly to Mr. Tinjak.

        11.   On June 20, 2020, Elmedin Tinjak was riding his Bianchi Oltre XR4 with two friends

              near Plain City, Ohio.

        12.   Mr. Tinjak was riding his Bianchi Oltre XR4 on a clear day, on dry, flat pavement in

              good condition.

        13.   As Mr. Tinjak was riding along, the left side of his Bianchi carbon fork suddenly broke

              in half, causing the right side to fail sympathetically.

        14.   The failure of the carbon fork caused the front wheel of Mr. Tinjak's Bianchi Oltre

              XR4 to detatch from his bike, sending him over the handlebars and headfirst into the

              pavement at over 20 mph.

        15.   Mr. Tinjak suffered severe injuries to his face, tongue and fractured his T7 vertebrae.

        16.   Upon testing of the carbon fork, the carbon fork failed halfway down the left side of

              the carbon fork arm due to a catastrophic failure of the carbon fiber in that area. Due

              to the tremendous stresses the failure of left side of the carbon fork placed on the right

              side, it failed too, causing the whole fork to break in half.

        17.   Forensic testing showed that the carbon in the fork was compromised by a plastic film

              embedded between layers of the carbon fork in the area where the carbon fork failed.

        18.   The failure could have also been caused by internal damage caused to the carbon by the

              assembly and/ or shipping of the bicycle.

        19.   Bianchi designed, manufactured and sold the subject carbon fork.

        20.   Bianchi USA and/ or Cycleurope distributed Bianchi bicycles, including the subject Oltre

              XR4, to dealers in the United States, including Competitivecyclist.com.

        21.   Prior to this incident, Mr. Tinjak took exceptional care of the subject bicycle. It was


                                                          3
         Case:  2:22-cv-02853-SDM-EPD
         Franklin County Ohio Clerk of CourtsDoc  #: 2
                                              of the   Filed: 07/19/22
                                                     Common              Page:
                                                               Pleas- 2022      5 of
                                                                           Jun 10    8 PM-22CV003972
                                                                                  3:24 PAGEID #: 24
0F959 - 076




                  always kept indoors, except when riding. It was never raced. It had approximately 1460

                  miles on it at the time of the carbon failure.

        22.       Bianchi has previously issued recalls for certain carbon forks due to defects.

                   LIABILITY OF BIANCHI USA, INC. AND CYCLEUROPE USA, LLC

        23.       Bianchi USA, Inc. and Cycleurope USA, LLC, are liable to plaintiffs as both a manufac-

                  turer (under the sections of the Ohio Revised Code set forth below), and a supplier un-

                  der:
              •    RC 2307.78(B)(1) (manufacturer not subject to judicial process in Ohio)

              •    RC 2307.78(B)(4) (supplier owned in whole or in part by the manufacturer of the prod-
                   uct)

              •    RC 2307.78(B)(7) (supplier marketed the product under its own label or trade name),
                   and

              •    RC 2307.78(B)(8) (supplier failed to respond to a written request to disclose the name
                   and address of the manufacturer)

        24.       The Bianchi Oltre XR4 was defective in the following ways:

                         RC 2307.75 (PRODUCT DEFECTIVE IN DESIGN OR FORMULATION)

        25.       Under Ohio law, a product is defective in design or formulation if, at the time it left the

                  control of its manufacturer, the foreseeable risks associated with its design or formulation

                  exceeded the benefits associated with that design or formulation. (RC 2307.75).

        26.       The subject Bianchi Oltre XR4 carbon fork broke during routine riding in perfect con-

                  ditions. The bicycle was well cared-for and had less than 1500 miles on it.

        27.       Bianchi knew or should have known the risks of fork failure at high speeds on a bicycle

                  would pose a significant safety risk to its customers.

        28.       In September 2017, prior to Mr. Tinjak's incident, Bianchi recalled many of its carbon



                                                             4
         Case:  2:22-cv-02853-SDM-EPD
         Franklin County Ohio Clerk of CourtsDoc  #: 2
                                              of the   Filed: 07/19/22
                                                     Common              Page:
                                                               Pleas- 2022      6 of
                                                                           Jun 10    8 PM-22CV003972
                                                                                  3:24 PAGEID #: 25
0F959 - 077




              forks over failures.

        29.   The carbon in the area of the subject Oltre XR4 was not strong enough to withstand

              ordinary riding in perfect conditions without failure.

        30.   The design of the Oltre XR4 fork was defective if it could fail within one year of purchase

              and less than 1500 miles despite excellent care by the consumer.

        31.   The carbon fiber design was defective if it was designed to spontaneously fail after one

              year of light use.

              RC 2307.74 (PRODUCT DEFECTIVE IN MANUFACTURE OR CONSTRUCTION)

        32.   Under Ohio law, a product is defective in manufacture or construction if:

              A product is defective in manufacture or construction if, when it left the control of its
              manufacturer, it deviated in a material way from the design specifications, formula, or
              performance standards of the manufacturer, or from otherwise identical units manufac-
              tured to the same design specifications, formula, or performance standards. A product
              may be defective in manufacture or construction as described in this section even though
              its manufacturer exercised all possible care in its manufacture or construction.

        33.   The subject Bianchi Oltre XR4 was defective under R.C. 2307.74.

        34.   Testing confirmed that the carbon in the fork of Mr. Tinjak's Bianchi XR4 was compro-

              mised by a plastic film embedded in the carbon in the area where the carbon fork broke.

        35.   The plastic film present in the left side of the Bianchi Oltre XR4 was the cause of the

              carbon failure by failing to allow the layers of carbon to adhere to each other properly.

        36.   The plastic film in the left side the of Mr. Tinjak's Bianchi Oltre XR4 was a defect in the

              manufacture or construction of his bike.

                               LIABILITY OF BACKCOUNTRY.COM, LLC

        37.   Defendant Backcountry.com, LLC is liable as a supplier pursuant to RC 2307.78, and for

              the negligence of its employees.


                                                         5
         Case:  2:22-cv-02853-SDM-EPD
         Franklin County Ohio Clerk of CourtsDoc  #: 2
                                              of the   Filed: 07/19/22
                                                     Common              Page:
                                                               Pleas- 2022      7 of
                                                                           Jun 10    8 PM-22CV003972
                                                                                  3:24 PAGEID #: 26
0F959 - 078




        38.   Defendant Backcounty.com, LLC is supplier of Bianchi bicycles.

        39.   Defendant Backcountry.com, LLC, sold Mr. Tinjak the defective Bianchi Oltre XR4.

        40.   Backcountry.com, LLC, is liable to plaintiffs under RC 2307.78 Oiability of supplier),

              sections A and B.

        41.   Backcountry.com, LLC, is liable to plaintiffs under RC 2307.78(B)(1) because the man-

              ufacturer of the subject water heater (Bianchi, a company domiciled in Italy) is not sub-

              ject to judicial process in Ohio.

        42.   Defendant Backcountry.com, LLC's employees assembled and shipped Mr. Tinjak's

              Bianchi Oltre XR4.

        43.   Backcountry.com, LLC's employees were negligent in assembling and/ or shipping Mr.

              Tinjak's Bianchi XR4, which damaged the front fork and caused the failure of the subject

              fork.

        44.   Defendant Backcountry.com, LLC, is liable for the negligent acts of its employees, agents

              and/ or apparent agents.

                                            PROXIMATE CAUSE

        45.   As a direct and proximate result of the defective product, Mr. Tinjak suffered severe

              injuries when the carbon fork failed, sending him headfirst into the pavement on June

              20, 2022.

        46.   As a direct and proximate result of Defendant Backcountry.com, LLC's employees' neg-

              ligence, Mr. Tinjak suffered severe injuries on June 20, 2022.

        47.   As a direct and proximate of the defendants' conduct and injuries to Elmedin Tinjak,

              Miranda Tinjak suffered a loss of spousal consortium.




                                                       6
         Case:  2:22-cv-02853-SDM-EPD
         Franklin County Ohio Clerk of CourtsDoc  #: 2
                                              of the   Filed: 07/19/22
                                                     Common              Page:
                                                               Pleas- 2022      8 of
                                                                           Jun 10    8 PM-22CV003972
                                                                                  3:24 PAGEID #: 27
0F959 - 079



                                                  DAMAGES

        48.   Plaintiffs seek all damages available under Ohio law. These include but are not limited to

              past and future economic damages, and past and future non-economic damages, includ-

              ing but not limited to emotional distress, mental anguish, and loss of consortium.

               WHEREFORE, the plaintiffs collectively request a jury and demand judgment against

        defendants in excess of $25,000, plus interest and costs.




                                                 Jury Demand

                                         Plaintiffs request a trial by jury.




                                                              Respectfully submitted,

                                                               Isl Tacob [. Beausav
                                                                   C     C        .5


                                                              Jacob J. Beausay (85213)
                                                              Beausay & Nichols Law Firm
                                                              7650 Rivers Edge Drive, Suite 150
                                                              Columbus, Ohio 43235
                                                              614-Law-Firm (614-529-3476)
                                                              614-848-4171 (f)
                                                              jjb@beausaylaw.com

                                                               Counselfor Plaintiffs




                                                         7
